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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                            January 05, 2022
                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS                       Nathan Ochsner, Clerk

                              HOUSTON DIVISION

KAFI, INC.,                   §               CIVIL ACTION NO.
                              §               4:21-CV-01610
    Plaintiff,                §
                              §
V.                            §               JUDGE CHARLES ESKRIDGE
                              §
FEDERAL NATIONAL              §
MORTGAGE ASSOCIATION, ET AL., §
                              §
    Defendant.                §


                          STANDARD PROTECTIVE ORDER

    The Court orders that the following restrictions and procedures apply to certain
information, documents, and excerpts from documents that the parties produce to
each other during initial disclosures and in response to discovery requests.
1. “Confidential Information” refers to private, secret, or restricted information of
   any party that by its nature must be maintained in confidence to protect the
   interests of the party. Counsel for any party, or a pro se party, may designate any
   document, information contained in a document, information revealed in an
   interrogatory response, or information revealed during a deposition as
   Confidential Information where determined in good faith that such designation
   is necessary. The party making such designation must stamp the documents or
   information with indication of “CONFIDENTIAL.”
2. Unless otherwise ordered by the Court or provided for in this Order, any party
   receiving Confidential Information:
      a. Must hold and maintain such information or document solely for use in
         connection with this action; and
      b. Must not disclose the information or document to any other person.
3. The parties must make a good faith effort to resolve any challenge to another
   party’s confidentiality designation. The challenging party may seek resolution by
   the Court in the absence of agreement.
4. Information or documents designated as “confidential” must not be disclosed to
   any person, except:
      a. The requesting party and counsel, including in-house counsel;
      b. Employees of such counsel assigned to and necessary to assist in the
         litigation;

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      c.   Consultants or experts retained by either party to the extent deemed
           necessary by retaining counsel;
      d. Any person from whom testimony is taken or is to be taken in this matter,
         but such a person may only be shown Confidential Information during and
         in preparation for testimony and may not retain the Confidential
         Information; and
      e.   The Court, including any clerk, stenographer, or other person having
           access to Confidential Information by virtue of his or her position with the
           Court, and including the jury at trial or as exhibits to motions.
5. Prior to disclosing or displaying Confidential Information to any persons
   identified in Paragraphs 4(a), (b), (c), and (d), counsel must:
      a. Inform the person of the confidential nature of the information and
         documents; and
      b. Inform the person that this Court has enjoined the use of the information
         or documents for any purpose other than this litigation and has enjoined
         the disclosure of that information or documents to any other person.
6. Prior to disclosing or displaying Confidential Information to any persons
   identified in Paragraphs 4(c) and (d), counsel must also obtain a signed
   agreement binding the person to this Order in the form attached as Exhibit A.
   The party desiring to disclose Confidential Information may seek appropriate
   relief from the Court in the event such person refuses to sign an agreement.
7. The disclosure of a document or information without designating it as
   Confidential Information shall not constitute a waiver of the right to later
   designate such document or information provided that the producing party
   designates such material as Confidential Information no later than fourteen days
   after the close of discovery. Upon such designation, all parties must treat such
   document or information as Confidential Information. No producing party may
   hold a receiving party accountable for any use or disclosure prior to such
   designation.
8. Any party seeking to file under seal any pleading, brief, or supporting material
   containing Confidential Information must obtain permission of the Court. The
   Court allows such filing only on showing of exceptional circumstances. Any party
   seeking to seal Confidential Information must:
      a. File a sealed motion explaining to the Court the justification for preventing
         public disclosure of the information;
      b. Attach the filing proposed for permanent seal on the docket;
      c.   Attach a redacted version suitable to and proposed for filing on the public
           docket or explanation why redaction is not possible; and



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      d. Absent alternate permission, identify the filing with a title and designation
         of “SEALED” on the CM/ECF System (for example, “Motion for Summary
         Judgment (SEALED),” and not simply “SEALED DOCUMENT”).
    The Court promptly considers such motions and directs filings under seal or on
    the public docket as appropriate. Anticipate and seek resolution of such motion
    in advance of filing deadlines.
9. Within thirty days after entry of final judgment no longer subject to further
   appeal, each party must return all Confidential Information and any copies to the
   producing party or provide certification of its destruction. Each parties’ counsel
   may retain their working files on the condition that those files will remain
   confidential.
10. The foregoing is without prejudice to the right of any party to apply to the Court
    for an order to:
      a. Further protect Confidential Information;
      b. Seek protection regarding the production of documents or information;
      c.   Compel production of documents or information; or
      d. Modify this Order.
11. Nothing in this Protective Order constitutes an admission by any party that
    Confidential Information disclosed in this case is relevant or admissible. Each
    party maintains its right to object to the use or admissibility of all Confidential
    Information pursuant to applicable law and rules.
12. Any party may enforce this Order by motion to the Court. Any violation may
    result in the imposition of sanctions.



    Signed on ______________,
              January 05, 2022 at Houston, Texas.



                          Hon. Charles Eskridge
                          United States District Judge




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                                    EXHIBIT A


    Counsel intends to disclose to me documents or information in connection with
the matter entitled ________________________.

    Counsel has informed me that a party has designated some of those documents
or information as confidential. I understand that any of the documents or information
labeled “confidential” are confidential by Order of the Court.

    I agree that I will not disclose to any other person any documents labeled
“CONFIDENTIAL” or information contained in those documents. I also agree not to use
those documents or information for any purpose other than this litigation.

Signed:             ________________________________________

Dated:              ________________________________________



Signed in the presence of:



             ________________________________________
             Attorney




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